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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-183-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   RICARDO MARTINEZ-PEREZ,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Felon in Possession of a Firearm (three counts)

15 Date of Detention Hearing:     July 13, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant’s criminal record includes multiple failures to appear for court



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01 hearings with resulting bench warrant activity. An active warrant has been issued by King

02 County for violation of probation for failure to complete drug treatment. Defendant reports

03 regular use of methamphetamine, marijuana, and cocaine.

04          2.     Defendant admits previous gang membership although the AUSA proffers

05 evidence of active gang membership. The current charges involve allegations that defendant

06 attempted to sell firearms to an undercover agent. His criminal history includes a conviction

07 for similar charges in 2010.

08          3.     At the detention hearing, the AUSA offered testimony to show defendant’s

09 efforts to elude arrest on several occasions when agents went to his house to arrest him.

10          4.     There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the

12 danger to other persons or the community.

13 It is therefore ORDERED:

14      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

15          General for confinement in a correction facility separate, to the extent practicable, from

16          persons awaiting or serving sentences or being held in custody pending appeal;

17      2. Defendant shall be afforded reasonable opportunity for private consultation with

18          counsel;

19      3. On order of the United States or on request of an attorney for the Government, the

20          person in charge of the corrections facility in which defendant is confined shall deliver

21          the defendant to a United States Marshal for the purpose of an appearance in connection

22          with a court proceeding; and



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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 16th day of July, 2012.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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